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                        UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA (ATLANTA)

IN RE:                                 )              CASE NO.       17-56755-pwb
HARRY JAMES FREESE,                    )
                                       )              CHAPTER        13
      Debtor.                          )
______________________________________ )              JUDGE          PAUL W. BONAPFEL
TOWD POINT MASTER FUNDING TRUST )
2017-PM18                              )
                                       )              CONTESTED MATTER
      Movant,                          )
v.                                     )
                                       )
HARRY JAMES FREESE, Debtor,            )
and MARY IDA TOWNSON, Trustee,         )
                                       )
      Respondents.                     )

                                     NOTICE OF HEARING

NOTICE IS HEREBY GIVEN that a motion for relief from the automatic stay has been filed in
the above-styled case by Movant. In the event a hearing cannot be held within thirty (30) days
from the filing of the motion for relief from the automatic stay as required by 11 U.S.C. § 362,
Movant waives this requirement and agrees to the next earliest possible date, as evidenced by
signature below. If a final decision is not rendered by the Court within sixty (60) days of the date
of the request, Movant waives the requirement that a final decision be issued within that period.
The undersigned consents to the automatic stay (and any related co-debtor stay) remaining
in effect with respect to Movant until the court orders otherwise.

       Hearing will be held on the 28th day of March, 2018, at 1:30 p.m., Courtroom
1401, at the Richard B. Russell Federal Building and United States Courthouse, 75 Ted Turner
Drive, SW, Atlanta, GA 30303.

Within three days of the date of this notice, Movant’s attorney, or a pro se Movant, shall serve
the motion and this notice upon the debtors, trustee, and their attorneys of record, and shall file a
certificate of service within three days of service. BLR 9007-2 NDGA.

Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one. If you do not have an
attorney, you may wish to consult one. If you do not want the court to grant the relief sought in
these pleadings or if you want the court to consider your views, then you and/or your attorney
must attend the hearing. You may also file a written response to the pleadings with the Clerk of
Court at the address below, with a copy to the Movant and the Trustee, but you are not required
to do so. If you file a written response, you must attach a certificate stating when, how and to
whom you served the response, and include the addresses. Mail or deliver your response so that
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it is received by the Clerk at least two business days before the hearing. Mail to: United States
Bankruptcy Court, 75 Ted Turner Drive, SW, Atlanta, GA 30303. You must also mail a copy of
your response to the undersigned at the address stated below.

       If a final decision is not rendered by the Court within sixty (60) days of the date of the
request, Movant waives the requirement that a final decision be issued within that period.

If you or your attorney do not take these steps, the court may decide that you do not oppose
the relief sought in the Motion and may enter an order granting relief.

This notice is sent by the undersigned pursuant to LBR 9004-1(6).

DATE: 2-21-2018                                     /s/ Sarah Wyeth McLaughlin
                                                    Sarah Wyeth McLaughlin, GBN 779413

Padgett Law Group
6267 Old Water Oak Road
Suite 203
Tallahassee, FL 32312
(850) 422-2520 (telephone)
(850) 422-2567 (fax)
swyeth@padgettlaw.net
Attorney for Movant
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                           UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA (ATLANTA)

IN RE:                                 )              CASE NO.       17-56755-pwb
HARRY JAMES FREESE,                    )
                                       )              CHAPTER        13
      Debtor.                          )
______________________________________ )              JUDGE          PAUL W. BONAPFEL
TOWD POINT MASTER FUNDING TRUST )
2017-PM18                              )
                                       )              CONTESTED MATTER
      Movant,                          )
v.                                     )
                                       )
HARRY JAMES FREESE, Debtor,            )
and MARY IDA TOWNSON, Trustee,         )
                                       )
      Respondents.                     )

                   MOTION TO MODIFY AUTOMATIC STAY
          AND WAIVER OF THE 30-DAY REQUIREMENT OF 11 U.S.C. § 362(e)

       COMES NOW, TOWD POINT MASTER FUNDING TRUST 2017-PM18 (“Movant”

herein), a secured creditor and/or party in interest in the above-captioned matter, and respectfully

shows the Court as follows:

                                                 1.

       This Motion is made pursuant § 362(d) of the Bankruptcy Code for relief from the

automatic stay for all purposes allowed under applicable law and the contract between the

parties, including, but not limited to, the right to foreclose on certain real property by private

power of sale contained in a certain Security Deed or the right to initiate a replevin action to seek

possession of and foreclose certain Collateral pursuant to the underlying loan documents and

applicable state law.

                                                 2.

       The Debtors filed a petition under Chapter 13 of the Bankruptcy Code on April 12, 2017.
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                                                 3.

       The Bankruptcy Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§ 157

and 1334 and 11 U.S.C. § 362.

                                                 4.

       Mary Ida Townson is the duly designated Chapter 13 Trustee.

                                                 5.

       Movant is the servicer of a loan secured by that certain 1998 64 x 32 Redman

Manufactured Home, Worthington Model, Serial Numbers 14901729A and 14901729B, together

with all fixtures, furniture, and appliances purchased with the manufactured home (collectively

the “Collateral”), by virtue of a Manufactured Home Retail Installment Contract (the “Contract”)

executed by Debtor, attached hereto as Exhibit “A” along with the Certificates of Title, which

are attached hereto as Exhibit “B”. The Collateral is titled in the name of Debtor. Debtor is liable

on the Contract.

                                                 6.

       Debtor’s Plan provides for Debtors to make direct monthly contractual payments to

Movant, beginning with the May 2, 2017 payment. As of February 14, 2018, Debtor is in

default to Movant in the amount of $621.00, representing the January 2, 2017 through

February 2, 2018 payments in the amount of $424.07 with $227.14 in suspense. Therefore,

Movant is not receiving payments on the account and the Collateral is depreciating in value. The

stay should be terminated for cause, including the lack of adequate protection of an interest in

the collateral of Movant, pursuant to 11 U.S.C § 362(d)(1).
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                                                 7.

       There is no equity in the Collateral and it is not necessary for an effective reorganization

of the Debtor. Debtor’s Schedule D: Creditors Who Have Claims Secured By Property values the

Collateral at $31,364.00. Movant filed a Proof of Claim for $31,278.47, with $0.00 in arrearages.

                                                 8.

       As of February 14, 2018, the total unpaid principal balance is $29,922.45 and the

loan balance is $30,724.02.

                                                 9.

       Movant, by and through undersigned counsel, waives the requirement of 11 U.S.C. §

362(e) and agrees that, if a hearing cannot be held within thirty (30) days from the filing of this

Motion, said hearing shall be set on the next available date.

                                                10.

       Because of the default and clear inability of Debtors to make all required contractual

payments, Movant is not adequately protected. Movant’s interest in the Collateral would be

irreparably harmed by the continuation of the automatic stay. The possibility of equity above the

indebtedness, would not constitute adequate protection as contemplated by the Bankruptcy Code

which does not provide for Debtors to enjoy the use of the Collateral without complying with the

terms of the confirmed Plan.

                                                11.

       Because the loan documents so provide, Movant is entitled to reasonable attorney’s fees

and costs of $1,031.00 incurred in bringing this motion.

                                                12.

       Movant requests that the provisions of Fed. R. Bankr. P 4001(a)(3) be waived.
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                                                13.

        Movant requests that on entry of an Order granting this Motion and modifying the

automatic stay that the Chapter 13 Trustee make no further payments on account of Movant’s

secured claim, and that the secured portion of Movant’s claim be deemed withdrawn without

prejudice to Movant’s right to file an amended unsecured claim for any deficiency. Movant

consents to return to the Chapter 13 Trustee any payments received from Trustee on account of

Movant’s secured claim after entry of an Order modifying the automatic stay on the Collateral.

                                                14.

        Movant is without sufficient information to form a belief whether there are additional

liens on the Collateral or to determine the amount of any encumbrances that may consume any

available equity in the Collateral. Debtors’ Schedules indicate that there are no additional liens

on the Collateral. Movant’s loan balance, along with costs of sale render little or no equity in the

Collateral to benefit the estate.

                                                15.

        Movant asserts that there is no additional Collateral for its loan that can be foreclosed

upon.

                                                16.

        Should stay relief be granted as to the Collateral, Movant pursuant to terms of the

Contract may foreclose its security interest and seek possession of the Collateral.

                                                17.

        Movant requests that if the stay is modified that Movant be permitted to contact Debtors

and/or Debtors’ counsel, as appropriate, through its agents, servicers and representatives for the

purpose to enter into discussion and consideration of loss mitigation options, as relating to the
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loan documents. Movant asserts that Debtors and their counsel are responsible for filing any

court documents required for approval of any such agreement that may arise from such

discussions.

                                                18.

       Pursuant to applicable local rules and O.C.G.A. § 44-14-162.2, the name of the person or

entity who has full authority to negotiate, amend or modify the terms of the aforementioned

indebtedness is: Ditech Financial LLC; P.O. 0049, Palatine, IL 60055-0049; Telephone: (888)

298-7785.

       WHEREFORE, Movant moves this Court for an Order, after Notice and Hearing,

terminating the automatic stay as to Movant and the Collateral so that Movant (and any

successors or assigns) may take any and all steps under non-bankruptcy law necessary to

exercise any and all rights it may have under the law and its loan documents; to enforce its

remedies to foreclose upon and obtain possession of the Collateral; waiving the right to a hearing

within thirty (30) days as provided by 11 U.S.C. § 362(e); that provides that Trustee make no

further payments on account of Movant’s secured claim; that awards Movant its reasonable fees

and costs for this Motion; that pursuant to 11 U.S.C. § 362 directs Trustee to abandon the

Collateral; waiving the provisions of Fed. R. Bankr. P. 4001(a)(3); exempting Movant from

further compliance with Fed. Rule Bankr. P. 3002.1 in the instant bankruptcy case; that permits

Movant to contact Debtor(s) or Debtor(s)’ counsel, through its agents, servicers and

representative for the purpose of engaging in discussions and consideration for possible loss

mitigation options; and for such other and further relief as the Court deems just and appropriate.

       RESPECTFULLY SUBMITTED this 21st day of _February, 2018.

                                                      /s/ Sarah Wyeth McLaughlin
                                                      Sarah Wyeth McLaughlin, GBN 779413
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                        UNITED STATES BANKRUPTCY COURT
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IN RE:                                 )            CASE NO.       17-56755-pwb
HARRY JAMES FREESE,                    )
                                       )            CHAPTER        13
      Debtor.                          )
______________________________________ )            JUDGE          PAUL W. BONAPFEL
TOWD POINT MASTER FUNDING TRUST )
2017-PM18                              )
                                       )            CONTESTED MATTER
      Movant,                          )
v.                                     )
                                       )
HARRY JAMES FREESE, Debtor,            )
and MARY IDA TOWNSON, Trustee,         )
                                       )
      Respondents.                     )

                                 CERTIFICATE OF SERVICE

       I, the undersigned, an attorney with Padgett Law Group, certify that I am, and at all times
hereinafter mentioned was more than 18 years of age; and
       That on the 21st day of February 2018, I served a copy of the within Notice Of Hearing
together with the Motion for Relief From Stay and Waiver of the 30-Day Requirement of
11 U.S.C. § 362(e), filed herein, by first class U.S. Mail with adequate prepaid postage,
or electronically via e-mail, to said respondents in this bankruptcy matter as follows:

By U.S. First Class Mail

Debtor
Harry James Freese
1270 Keans Ct.
Roswell, GA 30075

And by electronic service

Attorney for Debtor
Howard P. Slomka
Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339
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Trustee
Mary Ida Townson
Chapter 13 Trustee
Suite 2200
191 Peachtree Street, NE
Atlanta, GA 30303-1740

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed On: 2-21-2018                           By: /s/ Sarah Wyeth McLaughlin
                                                 Sarah Wyeth McLaughlin, GBN 779413
